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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS


                                                    )
Ricardo A. Gomez, et al.                            )
                                                    )       No. 1:14-cv-09420
               Plaintiffs,                          )
                                                    )
       vs.                                          )       Judge Andrea R. Wood
                                                    )
Cavalry Portfolio Services, LLC, et al.             )
                                                    )
               Defendants.                          )
                                                    )

                             MOTION TO WITHDRAW AS COUNSEL

       Pursuant to Local Rule 83.15, Cassandra P. Miller of Edelman, Combs, Latturner &

Goodwin, LLC, (“Movant”) hereby notifies the parties and the Court that attorneys Francis R.

Greene and Emiliya G. Farbstein withdraw their appearances as counsel for Plaintiffs Ricardo

and Debora Gomez (“Plaintiffs”). Movant states as the following grounds for this motion:

       1.      Francis R. Greene and Emiliya G. Farbstein have represented Plaintiffs as part of

their employment at Edelman, Combs, Latturner & Goodwin, LLC. Francis R. Greene and

Emiliya G. Farbstein have ceased to be employed by Edelman, Combs, Latturner & Goodwin,

LLC.

       2.      Francis R. Greene and Emiliya G. Farbstein’s withdrawals will not cause any

prejudice on this case. Plaintiffs continue to be actively represented by myself and other

attorneys from Edelman, Combs, Latturner & Goodwin, LLC.

       WHEREFORE, for the reasons set forth in this motion, Movant respectfully requests that

this Court grant the motion to withdraw Francis R. Greene and Emiliya G. Farbstein’s

appearances as counsel for Plaintiffs Ricardo and Debora Gomez in the above-captioned case.
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                                                        Respectfully submitted,

                                                        /s/ Cassandra P. Miller
                                                        Cassandra P. Miller


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                                CERTIFICATE OF SERVICE


        I, Cassandra P. Miller, hereby certify that on December 12, 2018, I caused to be filed the
foregoing document with the Clerk of the Court using the CM/ECF System which sent
notification to all counsel of record


                                                                    /s/ Cassandra P. Miller
                                                                    Cassandra P. Miller


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